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 8                       United States District Court

 9                      Eastern District of California

10

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12   United States of America,

13              Plaintiff,             No.    05-171 PAN

14        vs.                          Detention Order

15   Althea Rinette Gonzalez,

16              Defendant.

17                                    -oOo-

18   A.   Order For Detention

19        After conducting a detention hearing pursuant to 18 U.S.C. §
     3142(f) of the Bail Reform Act, the Court orders the above-named
20   defendant detained pursuant to 18 U.S.C. § 3142(e) and (i).

21   B.   Statement Of Reasons For The Detention

22        The Court orders the defendant's detention because it finds:

23
            x        By a preponderance of the evidence that no
24                   condition or combination of conditions will
                     reasonably assure the appearance of the defendant
25                   as required.

26          x        By clear and convincing evidence that no condition
                     or combination of conditions will reasonably assure
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 1                   the safety of any other person and the community.

 2   C.   Findings Of Fact

 3        The Court's findings are based on the evidence which was
     presented in Court and that which was contained in the Pretrial
 4   Services Report, and includes the following:

 5          x        (1) Nature       and Circumstances of the offense
                     charged.
 6
                 x         (a) The crime. Distribution of
 7                                        methamphetamine.

 8                         (b) The offense is a crime of violence.

 9                         (c) The offense involves a narcotic.

10               x         (d) The offense involves a large amount of
                           controlled substances.
11
            x        (2) The weight          of the evidence against the
12                   defendant is high.

13                   (3)   The hist ory and characteristics of th e
                     defendant including:
14
                     (a)   General Factors:
15
                                 The defendant appears to have a mental
16                               condition which may affect whether the
                                 defendant will appear.
17
                                 The defendant has no family ties in the
18                               area.

19                     x         The defendant has no steady employment.

20                     x         The defendant has no substantial
                                 financial resources.
21
                                 The defendant is not a long time resident
22                               of the community.

23                               The defendant does not have any
                                 significant community ties.
24
                       x         Past   conduct of the defendant: her
25                               parents provide support for her two
                                 children.
26
                                         2
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 1                     x         The defendant has a history relating to
                                 drug abuse.
 2
                       x         The defendant has a significant prior
 3                               criminal record.

 4                     x         The defendant has a prior record of
                                 failure to appear at court proceedings.
 5
                     (b)   Whether the defendant was on              probation,
 6                         parole, or release by a court;

 7                   At the time of the current arrest, the defendant was
     on:
 8
                                 Probation.
 9
                                 Parole.
10
                                 Release pending trial, sentence, appeal
11                               or completion of sentence.

12                   (c)   Other Factors

13                               The defendant is an illegal alien and is
                                 subject to deportation.
14
                                 The defendant is a legal alien and will
15                               be subject to deportation if convicted.

16                     x         Other: Grandmother unwilling to assist
                                 defendant obtain release; refused to
17                               answer questions about drug use; also has
                                 gambling problem for which her parents
18                               say she needs help.

19          x        (4)   Rebuttable Presumptions

20         In determining that the defendant should be detained, the
           court also relied on the following rebuttable presumption(s)
21         contained in 18 U.S.C. § 3142(e), which the court finds the
           defendant has not rebutted:
22
                           (a)   (1) The crime charged is one described in
23                               § 3142(f)(1)

24                                    (A) a crime of violence; or

25                                    (B) an offense for which the maximum
                                      penalty is life imprisonment or
26
                                           3
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 1                                    death; or

 2                                    (C) a controlled substance violation
                                      that has a maximum penalty of ten
 3                                    years or more; or

 4                                    (D) a felony and defendant
                                      previously was convicted of two or
 5                                    more of the offenses described in
                                      (A) through (C) above and
 6
                           (2)   Defendant previously has been convicted
 7                               of   one  of   the   crimes  listed  in
                                 subparagraph (1)(A)-(C), above and
 8
                           (3)   The offense referred to in subparagraph
 9                               (2) was committed while defendant was on
                                 release pending trial and
10
                           (4)   Not more than five years has elapsed
11                               since the date of conviction or release
                                 from   imprisonment   for  the   offense
12                               referred to in subparagraph (2).

13               x         (b)   There is probable cause to believe that
                                 defendant committed an offense for which
14                               a maximum term of imprisonment of ten
                                 years or more is prescribed
15
                       x         in the Controlled Substances Act, 21
16                               U.S.C. §§ 801, et seq.,

17                               the Controlled Substances Act , 21 U.S.C.
                                 §§ 951, et seq.,
18
                                 the Maritime Drug Law Enforcement Act, 46
19                               U.S.C. App. §§ 1901, et seq., or

20                               an offense under 18 U.S.C. §§ 924(c),
                                 956(a), or 2332b.
21
                                 an offense under 18 U.S.C. §§ 1201, 1591,
22                               2241, 2242, 2244(a)(1), 2245, 2251,
                                 2251A,      2252(a)(1),     2252(a)(2),
23                               2252(a)(3),   2252A(a)(1),  2252A(a)(2),
                                 2252A(a)(3), 2252A(a)(4), 2260, 2421,
24                               2422, 2423 or 2425.

25   D.   Additional Directives

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                                         4
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 1           Pursuant to 18 U.S.C. § 3142(i)(2)-(4), the Court directs
     that:
 2
          The defendant be committed to the custody of the Attorney
 3   General for confinement in a corrections facility separate, to the
     extent practicable, from persons awaiting or serving sentences or
 4   being held in custody pending appeal; and

 5        The defendant be afforded reasonable opportunity for private
     consultation with his counsel; and
 6
          That, on order of a court of the United States, or request of
 7   an attorney for the Government, the person in charge of the
     corrections facility in which the defendant is confined deliver the
 8   defendant to a United States Marshal for the purpose of an
     appearance in connection with a court proceeding.
 9

10           Dated: June 16, 2005.

11

12                                            /s/ Peter A. Nowinski
                                              Peter A. Nowinski
13                                            Magistrate Judge

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